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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA
                                        MIAMI DIVISION
                                  Case No.: __________________

  MARY E. HARRIS,                                        )
                                                         )
                 Plaintiff,                              )
                                                         )
  v.                                                     )
                                                         )
  THE PUBLIC HEALTH TRUST OF                             )
  MIAMI-DADE COUNTY d/b/a JACKSON                        )
  HEALTH SYSTEM d/b/a JACKSON                            )
  MEMORIAL HOSPITAL d/b/a JACKSON                        )
  HOSPITAL AMBULATORY CLINIC,                            )
                                                         )
                 Defendant.                              )

                                                COMPLAINT

         Plaintiff MARY E. HARRIS (“Plaintiff”) sues defendant THE PUBLIC HEALTH

  TRUST OF MIAMI-DADE COUNTY d/b/a JACKSON HEALTH SYSTEM d/b/a JACKSON

  MEMORIAL        HOSPITAL          d/b/a      JACKSON       HOSPITAL        AMBULATORY    CLINIC

  (“Defendant”) and alleges:

         1.      This is an action to recover damages for discrimination and retaliation pursuant to

  the Florida Civil Rights Act of 1992, Fla. Stat. § 760 et seq. (“FCRA”) and Title VII of the Civil

  Rights Act of 1964, as amended, 42 U.S.C.A. §§ 2000e et seq. (“Title VII”).

                                     JURISDICTION AND VENUE

         2.      The Court has jurisdiction over this action under 42 U.S.C. § 2000e-5(f),

  42 U.S.C. § 12117, 28 U.S.C. § 2617, 28 U.S.C. §§ 1331, 1343(3) and (4) and 1367 (a).

         3.      Venue is proper under 28 U.S.C. § 1391(b) because the acts complained of

  occurred within this judicial district, and because Defendant has its principal place of business



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                                    th
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  within the district, resides in the judicial district, and because the employment records of Plaintiff

  are stored or have been administered in Miami-Dade County.

         4.        Plaintiff also invokes the supplemental jurisdiction of this Court to hear and

  decide claims arising under the laws of the State of Florida that are so related to claims in the

  action within the original jurisdiction of this district Court that they form part of the same case or

  controversy under Article III of the United States Constitution. In particular, Plaintiff is bringing

  claims under the FCRA.

                                                      PARTIES

         5.        At all times material, Plaintiff was a resident of Miami-Dade County, Florida.

         6.        At all times material, Defendant was and is a public organization authorized to

  conduct business in the State of Florida, in Miami-Dade County, and within the jurisdiction of

  this Court.

         7.        At all times material to this Complaint, Plaintiff was an “employee” and

  “aggrieved person” as defined by 42 U.S.C. § 2000e(f); 42 U.S.C. § 12111(4); and Fla. Stat. §

  760.02(10). Plaintiff specifically incorporates the definitions of “employee” and “aggrieved

  person.”

         8.        At all times material, Defendant was a “person” and an “employer” as defined by

  42 USCS § 12111(5); 42 USC § 2000e(a) and (b); 42 U.S.C. § 12111(4); and Fla. Stat. §

  760.02(7). Plaintiff specifically incorporates the definitions of “person” and “employer.”

         9.        At all times material, Defendant employed fifteen (15) or more employees for

  each working day in each of twenty (20) or more calendar weeks in the current or preceding

  calendar year.



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         10.      Plaintiff has retained the undersigned counsel in order that her rights and interests

  may be protected. Plaintiff has become obligated to pay the undersigned a reasonable attorneys’

  fee.

         11.      Plaintiff has complied with all conditions precedent in filing this action, to wit;

                  a. Plaintiff timely filed two Charges of Discrimination with the Equal

                     Employment Opportunity Commission, Miami District Office.

                  b. Plaintiff was issued a Notice of Suit Rights as to all charges of discrimination

                     and retaliation on or about September 27, 2019.

                  c. Plaintiff is filing this action more than 180 days after she filed her Charges of

                     Discrimination.

         12.      Any other applicable conditions precedent to bringing this action have occurred,

  been performed or been excused before the filing of this lawsuit.

                                              RELEVANT FACTS

         13.      At all times material, Plaintiff was a member of a protected class of African

  American black citizens.

         14.      At all times material, Plaintiff was and is qualified to perform the essential

  functions of her job.

         15.      Plaintiff first became employed by Parkway Hospital in 2003. Later, in 2010, the

  Defendant acquired Parkway Hospital and its employees, including Plaintiff, became employees

  of Defendant.

         16.      Defendant is a hospital and one of the largest providers of medical services in

  Florida.



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            17.   At all times relevant, Plaintiff worked for the Defendant as Licensed Practical

  Nurse (LPN).

            18.   On or before 2014, Defendant subjected Plaintiff to race and national origin

  discrimination by creating a hostile work environment because of Plaintiff’s race and national

  origin.

            19.   Plaintiff complained about the discrimination to her supervisors and nothing was

  done. Instead, the work environment became more hostile1. Plaintiff endured the hostility

  because she needed her job to support her children.

            20.   In 2016, a new wave of hostility due to Plaintiff’s race and national origin ensued.

  Plaintiff could not tolerate the hostility any longer and this time began making complaints about

  workplace bullying and race and national origin discrimination to her supervisors and to her

  union representatives (also agents of the Defendant).

            21.    Specifically, Plaintiff complained about work-place bullying and discrimination

  due to her race and national origin to Caridad Nieves, Gianella Carreno, Rachel Freeman,

  Roselyn Lys, Vivienne Dixon Shim (AFSCME Union Representative), Michelle Warner

  (AFSCME Union Representative), Cecilia Gonzalez and Robert Campos Marquetti (Labor

  Relations Director).

            22.   Plaintiff’s complaints about work-place bullying and racial and national origin

  discrimination enraged the Defendant and as a result the Defendant engaged in a retaliatory and

  abusive campaign to discredit Plaintiff, to cause her severe mental distress, and to ultimately get

  her fired.

  1
   Plaintiff had previously complained with the EEOC about discrimination at the workplace in
  2009. She filed EEOC Charge No.: 510-2009-02821. Nothing was done then either.

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         23.      Specifically, Defendant began to write up Plaintiff for no reason,2 forced her to

  work under less qualified staff, forced her to work with colleagues under the influence of

  alcohol/drugs and with a provider accused of sexual assault in a locked unit, became hostile

  when Plaintiff gave testimony during the investigation of a doctor accused of sexual harassment,

  micromanaged Plaintiff’s work, and transferred Plaintiff to work at the ambulatory division of

  the hospital.

         24.      Plaintiff again complained of the discrimination and of the now blatant retaliation.

  Nothing was done to address her complaints. Instead, the hostility increased to levels that caused

  Plaintiff to become severely mentally distressed, depressed, anxious and with physical afflictions

  that needed FMLA leave, medical treatment, and hospitalization.

         25.      On or about December of 2016, Plaintiff filed a Charge of Discrimination

  denouncing race and national origin discrimination and retaliation (see Exhibit “A”).

         26.      Later, on or about December 21, 2016, Defendant terminated Plaintiff’s

  employment alleging “misconduct”.               Plaintiff’s termination prompted Plaintiff to file an

  additional Charge of Discrimination (see Exhibit “B”).

         27.      Defendant ignored all Charges of Discrimination and as a result the EEOC issued

  a Letter of Determination specifically finding that “there is reason to believe that violations have

  occurred” (see Exhibit “C”).

      COUNT I: DISCRIMINATION BASED ON PLAINTIFF’S RACE AND NATIONAL
       ORIGIN IN VIOLATION OF TITLE VII – HOSTILITY AND TERMINATION

         28.      Plaintiff re-adopts each and every factual allegation as stated in paragraphs 1

  through 27 above as if set out in full herein.

  2
   Writing Plaintiff up for no reason had become the norm every time Plaintiff aired her concerns
  about hostility at work. Defendant began disciplining Plaintiff since at least February of 2014.
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         29.     Plaintiff is a member of a protected class of African American, black citizens.

         30.     Defendant intentionally engaged in unlawful employment practices and

  discrimination in violation of Title VII by treating Plaintiff differently than similarly situated

  employees in the terms and conditions of her employment by, inter alia, creating a hostile work

  environment and subsequently terminating Plaintiff because of her race and national origin.

         31.     Defendant thereby discriminated against Plaintiff in the terms, conditions, and

  benefits of her employment in violation of Title VII.

         32.     Plaintiff’s race and national origin were motivating factors that caused Defendant

  to be hostile to Plaintiff and subsequently terminate Plaintiff.

         33.     As a direct and proximate result of the intentional violations by Defendant,

  Plaintiff has suffered, is now suffering, and will continue to suffer, emotional pain and mental

  anguish.

         34.     Furthermore, as a direct and proximate result of such actions by Defendant,

  Plaintiff has been, is being, and will be in the future, deprived of income in the form of wages

  and of prospective benefits solely because of Defendant’s conduct.

         35.     The unlawful employment practices complained of herein and the actions of

  Defendant and its agents were willful, wanton, intentional, and done with malice or with reckless

  indifference to Plaintiff’s statutorily protected employment rights.

         WHEREFORE, Plaintiff requests that this Honorable Court:

         A. Enter judgment in Plaintiff’s favor and against Defendant for its violations of Title
            VII;

         B. Award Plaintiff actual damages suffered, including lost wages and any other damages
            allowed to be recovered in a Title VII action;



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         C. Award Plaintiff compensatory damages under Title VII for embarrassment, anxiety,
            humiliation and emotional distress Plaintiff has suffered and continues to suffer;

         D. Award Plaintiff prejudgment interest on her damages award;

         E. Award Plaintiff punitive damages;

         F. Enjoin Defendant, its officers, agents, employees and anyone acting in concert with
            them, from discriminating, harassing and retaliating against Plaintiff and any
            employee;

         G. Award Plaintiff reasonable costs and attorney’s fees; and

         H. Grant Plaintiff such other and further relief, as this Court deems equitable and just.

                                          JURY TRIAL DEMAND

         Plaintiff demands trial by jury of all issues triable as of right by jury.

             COUNT II: RETALIATION BASED ON PLAINTIFF’S RACE AND
           NATIONAL ORIGIN IN VIOLATION OF TITLE VII – TERMINATION

         36.     Plaintiff re-adopts each and every factual allegation as stated in paragraphs 1

  through 35 above as if set out in full herein.

         37.     Plaintiff is a member of a protected class of African American, black citizens.

         38.     Plaintiff engaged in a protected activity when she complained of racial and

  national origin discrimination to Defendant.

         39.     Plaintiff engaged in a protected activity when she filed her Charge of

  Discrimination on or about December of 2016 (see Exhibit “A”).

         40.     Defendant intentionally engaged in unlawful employment practices and retaliation

  in violation of Title VII by treating Plaintiff differently than similarly situated employees in the

  terms and conditions of her employment by, inter alia, terminating Plaintiff because Plaintiff

  complained about race and national origin discrimination, because she complained about the

  hostility and abuse directed towards her because of her initial complaints of race and national

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  origin discrimination, and because Plaintiff filed the Charge of Discrimination attached hereto as

  Exhibit “A”.

         41.     Defendant thereby retaliated against Plaintiff in the terms, conditions, and benefits

  of her employment in violation of Title VII.

         42.     As a direct and proximate result of the intentional violations by Defendant,

  Plaintiff has suffered, is now suffering, and will continue to suffer, emotional pain and mental

  anguish.

         43.     Furthermore, as a direct and proximate result of such actions by Defendant,

  Plaintiff has been, is being, and will be in the future, deprived of income in the form of wages

  and of prospective benefits solely because of Defendant’s conduct.

         44.     The unlawful employment practices complained of herein and the actions of

  Defendant and its agents were willful, wanton, intentional, and done with malice or with reckless

  indifference to Plaintiff’s statutorily protected employment rights.

         WHEREFORE, Plaintiff requests that this Honorable Court:

         A. Enter judgment in Plaintiff’s favor and against Defendant for its violations of Title
            VII;

         B. Award Plaintiff actual damages suffered, including lost wages, loss of fringe benefits
            and damages;

         C. Award Plaintiff compensatory damages under Title VII for embarrassment, anxiety,
            humiliation and emotional distress Plaintiff has and continues to suffer;

         D. Award Plaintiff punitive damages according to proof;

         E. Award Plaintiff prejudgment interest on her damages award;

         F. Award Plaintiff reasonable costs and attorney’s fees; and

         G. Grant Plaintiff such other and further relief, as this Court deems equitable and just.


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                                          JURY TRIAL DEMAND

       Plaintiff demands trial by jury of all issues triable as of right by jury.
    COUNT III: DISCRIMINATION BASED ON PLAINTIFF’S RACE AND NATIONAL
      ORIGIN IN VIOLATION OF THE FCRA – HOSTILITY AND TERMINATION

         45.     Plaintiff re-adopts each and every factual allegation as stated in paragraphs 1

  through 27 above as if set out in full herein.

         46.     Plaintiff is a member of a protected class of African American, black citizens.

         47.     Defendant intentionally engaged in unlawful employment practices and

  discrimination in violation of the FCRA by treating Plaintiff differently than similarly situated

  employees in the terms and conditions of her employment by, inter alia, creating a hostile work

  environment and subsequently terminating Plaintiff because of her race and national origin.

         48.     Defendant thereby discriminated against Plaintiff in the terms, conditions, and

  benefits of her employment in violation of the FCRA.

         49.     Plaintiff’s race and national origin were motivating factors that caused Defendant

  to create a hostile work environment and subsequently terminate Plaintiff.

         50.     As a direct and proximate result of the actions of Defendant set forth above,

  Plaintiff has suffered, is now suffering, and will continue to suffer, embarrassment, humiliation,

  emotional pain and mental anguish.

         51.     Furthermore, as a direct and proximate result of Defendant’s actions, Plaintiff has

  been, is being, and will be in the future, deprived of income in the form of wages and of

  prospective benefits due to the Plaintiff solely because of Defendant’s conduct.

         52.     The unlawful employment practices complained of herein and the actions of

  Defendant and its agents were willful, wanton, intentional, and done with malice or with reckless

  indifference to Plaintiff’s statutorily protected employment rights.

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                                            PRAYER FOR RELIEF

          WHEREFORE, Plaintiff requests that this Honorable Court:

          A. Enter judgment in Plaintiff’s favor and against Defendant for its violations of the
             FCRA;

          B. Award Plaintiff actual damages suffered, including lost wages and any other damages
             allowed to be recovered in an action brought under the FCRA;

          C. Award Plaintiff compensatory damages under the FCRA for embarrassment, anxiety,
             humiliation and emotional distress Plaintiff has suffered and continues to suffer;

          D. Award Plaintiff prejudgment interest on her damages award;

          E. Award Plaintiff punitive damages;

          F. Enjoin Defendant, its officers, agents, employees and anyone acting in concert with
             them, from discriminating, harassing and retaliating against Plaintiff and any
             employee;

          G. Award Plaintiff reasonable costs and attorney’s fees; and

          H. Grant Plaintiff such other and further relief, as this Court deems equitable and just.

                                           JURY TRIAL DEMAND

          Plaintiff demands trial by jury of all issues triable as of right by jury.

             COUNT IV: RETALIATION BASED ON PLAINTIFF’S RACE AND
           NATIONAL ORIGIN IN VIOLATION OF THE FCRA – TERMINATION

          53.     Plaintiff re-adopts each and every factual allegation as stated in paragraphs 1

   through 27 and 45 through 52 above as if set out in full herein.

          54.     Plaintiff is a member of a protected class of African American, black citizens.

          55.     Plaintiff engaged in a protected activity when she complained of racial and

   national origin discrimination to Defendant.

          56.     Plaintiff engaged in a protected activity when she filed her Charge of

   Discrimination on or about December of 2016 (see Exhibit “A”).

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          57.     Defendant intentionally engaged in unlawful employment practices and retaliation

   in violation of the FCRA by treating Plaintiff differently than similarly situated employees in the

   terms and conditions of her employment by, inter alia, terminating Plaintiff because Plaintiff

   complained about race and national origin discrimination, because she complained about the

   hostility and abuse directed towards her because of her initial complaints of race and national

   origin discrimination, and because Plaintiff filed the Charge of Discrimination attached hereto as

   Exhibit “A”.

          58.     Defendant thereby retaliated against Plaintiff in the terms, conditions, and benefits

   of her employment in violation of FCRA.

          59.     As a direct and proximate result of the intentional violations by Defendant,

   Plaintiff has suffered, is now suffering, and will continue to suffer, emotional pain and mental

   anguish.

          60.     Furthermore, as a direct and proximate result of such actions by Defendant,

   Plaintiff has been, is being, and will be in the future, deprived of income in the form of wages

   and of prospective benefits solely because of Defendant’s conduct.

          61.     The unlawful employment practices complained of herein and the actions of

   Defendant and its agents were willful, wanton, intentional, and done with malice or with reckless

   indifference to Plaintiff’s statutorily protected employment rights.

                                            PRAYER FOR RELIEF

          WHEREFORE, Plaintiff requests that this Honorable Court:

          A. Enter judgment in Plaintiff’s favor and against Defendant for its violations of the
             FCRA;

          B. Award Plaintiff actual damages suffered, including lost wages and any other damages
             allowed to be recovered in an action brought under the FCRA;

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         C. Award Plaintiff compensatory damages under the FCRA for embarrassment, anxiety,
            humiliation and emotional distress Plaintiff has suffered and continues to suffer;

         D. Award Plaintiff prejudgment interest on her damages award;

         E. Award Plaintiff punitive damages;

         F. Enjoin Defendant, its officers, agents, employees and anyone acting in concert with
            them, from discriminating, harassing and retaliating against Plaintiff and any
            employee;

         G. Award Plaintiff reasonable costs and attorney’s fees; and

         H. Grant Plaintiff such other and further relief, as this Court deems equitable and just.

                                          JURY TRIAL DEMAND

         Plaintiff demands trial by jury of all issues triable as of right by jury.

   Dated: December 26, 2019.

                                                           Respectfully submitted,

                                                           By: _s/ R. Martin Saenz
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